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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 1:17-cr-20865-RAR

  UNITED STATES OF AMERICA,

  v.

  DIYA SALAME and
  HOUSSAM ALI HACHEM,

        Defendants.
  ______________________________/

                          ORDER FOLLOWING GARCIA HEARING

          THIS CAUSE came before the Court upon Defendants Diya Salame and Houssam Ali

  Hachem’s Unopposed Motions for Garcia Hearing (“Motions”). ECF Nos. [34], [35].              On

  December 10, the Honorable Rodolfo A. Ruiz, United States District Judge, referred the Motions

  to the undersigned. ECF No. [36]. On December 13, 2019, the undersigned held a hearing,

  pursuant to Federal Rule of Criminal Procedure 44(c) and United States v. Garcia, 517 F.2d 272

  (5th Cir. 1975), which was continued to December 16, 2019, to inquire into the propriety of co-

  Defendants Diya Salame and Houssam Ali Hachem, being represented by the same counsel,

  Jeffrey S. Weiner, Esq., Anabelle Helene Nahara, Esq., and Diego Weiner, Esq. ECF Nos. [42],

  [44].

          Both hearings were attended by the Government; Jeffrey S. Weiner, Anabelle Helene

  Nahara, and Diego Weiner; and Defendants Diya Salame and Houssam Ali Hachem. The

  Government agreed that if Defendants Diya Salame and Houssam Ali Hachem do not dispute the

  facts of the case and are aware of the potential conflicts in the case—as described and explained
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  in the Government’s Supplemental Briefing in Support of Garcia Hearing—then Defendants

  “may waive th[e] potential conflict.” ECF No. [48] at 5.

          On December 16, 2019, the Court made a detailed inquiry of both Defendants, and for the

  reasons stated at that December 16, 2019 hearing, which the Court incorporates into this Order,

  the Court found that both Defendants knowingly, voluntarily, and intelligently waived their right

  to conflict-free counsel. Indeed, the Court read the waiver of right to conflict-free counsel in

  open court, and Defendants Diya Salame and Houssam Ali Hachem executed in writing the

  waivers of their right to conflict-free counsel. ECF Nos. [45], [46]. The Court further found,

  and counsel agreed, that no actual conflict of interest exists at this time, as a result of Jeffrey S.

  Weiner, Anabelle Helene Nahara, and Diego Weiner’s joint representation of Defendants Diya

  Salame and Houssam Ali Hachem.

          DONE AND ORDERED in Chambers at Miami, Florida, this 23rd day of December,

  2019.


                                                                ______________________
                                                                JACQUELINE BECERRA
                                                                United States Magistrate Judge




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